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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


  DAVID SCURA, AND CLIFFORD DAY,                     Civil Action No. 3:23-cv-680
  Individually and on behalf of all others
  similarly situated,                                COMPLAINT FOR VIOLATIONS OF
                                                     THE SECURITIES EXCHANGE ACT OF
          Plaintiffs,                                1934

                  v.                                 JURY TRIAL DEMANDED

  BRAD K. HEPPNER, JON R. SABES,
  STEVEN F. SABES, PETER T.
  CANGANY, RICHARD W. FISHER,
  THOMAS O. HICKS, DENNIS P.
  LOCKHART, BRUCE W. SCHNITZER,
  THE BENEFICIENT COMPANY GROUP
  L.P., FOXO TECHNOLOGIES INC., and
  EMERSON EQUITY LLC.

          Defendants.


       Plaintiffs David Scura and Clifford Day (“Plaintiffs”), individually and on behalf of all

others similarly situated, by and through their attorneys, allege the following based upon

information and belief, except as to those allegations concerning Plaintiffs, which are alleged upon

personal knowledge. Plaintiffs’ information and belief is based upon, among other things, their

counsel’s investigation, which includes, without limitation: (a) review and analysis of regulatory

filings made by GWG Holdings, Inc. (“GWG”) with the United States Securities and Exchange

Commission (“SEC”); (b) review and analysis of court filings in the matter of In re: GWG

Holdings, Inc., et al., Case No. 22-90032 (Bankr. S.D. Tex.); (c) review and analysis of press

releases and media reports issued and disseminated by GWG; and (d) review of other publicly

available information concerning the defendants.




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I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities who purchased or otherwise acquired GWG’s L Bonds or Preferred Stock of GWG

(“GWG securities”) between December 23, 2017, and April 20, 2022, both dates inclusive (the

“Class Period”). Plaintiffs seek to recover compensable damages caused by Defendants’ violations

of the federal securities laws and to pursue remedies under Sections 10(b), 15(c), and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated

thereunder.

       2.      Defendants used GWG to carry out a Ponzi scheme, at the expense of GWG’s

investors. The Defendants diverted hundreds of millions of dollars in GWG investor funds for their

own gain, and their actions rendered GWG unable to make required payments to its investors,

substantially destroyed the value of GWG securities, and drove GWG into bankruptcy.

       3.      GWG’s business was founded in 2006 by brothers Steven F. Sabes and Jon R.

Sabes. From 2006 through at least 2018, Defendants Steven and Jon Sabes were senior executive

officers and controlling shareholders of GWG and its predecessor companies. From its founding

through in or about 2018, GWG was primarily in the business of purchasing life insurance policies

from insured individuals, with the goal of collecting policy benefits upon the death of the insureds.

       4.      GWG raised funds to purchase these life insurance policies primarily by selling

GWG stock and bonds to investors. GWG’s securities were sold through a network of

approximately 140 regional brokers through Defendant Emerson Equity who sold the GWG

securities to individual retail investors and retirement savers. These brokers received substantial

fees and commissions (at times exceeding 5% of the securities’ face value) from GWG for such

sales. In addition, many brokers continued selling GWG securities, particularly GWG’s L Bonds,

despite their known risk and GWG’s poor performance outlined in publicly filed documents.


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       5.      However, by in or about 2017, GWG’s business was failing. Insureds were living

longer than the projections that GWG had disclosed to investors, resulting in (i) higher costs to

maintain the insurance policies in the form of additional premiums, (ii) higher financing costs to

obtain additional investor funds to make the required premium payments under the policies, and

(iii) a longer wait to collect any eventual death benefits. GWG issued increasing amounts of its

own securities to cover its increasing costs, satisfying obligations to old GWG investors with new

GWG investor funds. At no time was revenue from the insurance policies that GWG had acquired

sufficient to cover GWG’s expenses.

       6.      According to reporting by the Wall Street Journal, Defendant Jon Sabes wanted to

get out of his investment in GWG, and in 2017 he found a match in Defendant Brad K. Heppner.

See Alexander Gladstone, WALL STREET JOURNAL, Retail Investors Face $1.3 Billion Hit After

Asset Manager’s Detour Into Startups (June 24, 2022); Alexander Gladstone, WALL STREET

JOURNAL, An Asset-Management Merger Ended in Bankruptcy, While Its Architect Got $174

Million (July 29, 2022).

       7.      Beginning on or about December 23, 2017, Defendants put into motion a plan that

would see: (i) Defendants Jon and Steven Sabes exiting GWG in 2019 with tens of millions of

dollars in GWG investor funds, and additional tens of millions of dollars in funding from GWG

for their startup business, Defendant FOXO Technologies Inc.; and (ii) Defendant Heppner gaining

control over GWG beginning in 2018 and diverting hundreds of millions of dollars to his company

Defendant Ben LP. Defendant Heppner simultaneously diverted GWG investor funds for his own

direct benefit, including millions of dollars to pay for private jet travel for his family and

maintenance of a 1,500-acre luxury ranch for his personal use. Defendants caused GWG to sell




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hundreds of millions of dollars of securities to GWG investors, totaling over $1.2 billion during

2018-2020 alone, in order to finance their scheme.

       8.       Defendants’ scheme began to unravel in 2021 when, under mounting pressure from

various accounting problems, auditor resignations, and an SEC investigation (which remains

ongoing and has already resulted in charges against certain brokers), Defendants were forced to

pause GWG’s sales of securities, leaving it unable to fund its expenses and make required

payments to its existing investors. No longer able to continue the scheme, and therefore having no

further use for GWG, in 2021 Defendant Heppner promptly resigned from GWG and separated

his company Defendant Ben LP from GWG (having combined the companies only three years

earlier). Having extracted hundreds of millions of dollars from GWG, Defendants left it a hollowed

shell of its former business, saddled with unsustainable debts.

       9.       On January 18, 2022 GWG disclosed that it was unable to make certain required

payments to its investors. On April 20, 2022, GWG filed for bankruptcy. GWG investors have not

received the payments to which they are entitled since at least February 2022.

       10.      Throughout the Class Period, Defendants failed to disclose material adverse facts

about GWG’s business, operations and prospects. Specifically, Defendants failed to disclose to

investors that (i) they intended to, and did, misappropriate GWG assets, (ii) GWG’s life insurance

investment business had failed, and (iii) GWG could only repay prior investors by issuing

increasing amounts of securities to new investors. In essence, Defendants had turned GWG into a

Ponzi scheme.

       11.      As a result of Defendants’ scheme and omissions, GWG’s resulting inability to

make required payments to its investors, and the resulting precipitous decline in the market value




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of GWG’s securities, Plaintiffs and other Class members have suffered significant losses and

damages.

II.      JURISDICTION AND VENUE

         12.   The claims asserted herein arise under Sections 10(b), 15(c), and 20(a) of the

Exchange Act (15 U.S.C. §§ 78j(b), 78t(a), 78o(c)(1), and SEC Rule 10b-5 promulgated

thereunder (17 C.F.R. § 240.10b-5).

         13.   This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

         14.   Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa) as the alleged misstatements entered and subsequent

damages took place within this judicial district. Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District.

         15.   In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

III.     PARTIES

         16.   Plaintiff David Scura, as set forth in the certification filed herewith, incorporated

by reference herein, purchased 40 shares of GWG’s preferred stock at $1,000.00 per share during

the Class Period, and suffered damages as a result of the federal securities law violations alleged

herein. Plaintiff Scura is an individual domiciled in Chicago, Illinois.

         17.   Plaintiff Clifford Day, as set forth in the certification filed herewith, incorporated

by reference herein, purchased $320,000.00 worth of GWG L Bonds during the Class Period, and




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suffered damages as a result of the federal securities law violations alleged herein. Plaintiff Day is

an individual domiciled and residing in Boca Raton, Florida.

       18.     Defendant Brad K. Heppner is the founder, CEO, and Chairman of Defendant The

Beneficient Company Group L.P. During April 26, 2019 to June 14, 2021 Defendant Heppner was

also GWG’s Chairman. Defendant Heppner is believed to reside in or near Dallas, Texas.

       19.     Defendant Jon R. Sabes was co-founder, Director, and CEO of GWG Holdings,

Inc. until on or about April 26, 2019. Defendant Jon Sabes is also the founder, Chairman, and CEO

of Defendant FOXO Technologies Inc. Defendant Jon Sabes is believed to reside in or near

Minneapolis, Minnesota.

       20.     Defendant Steven F. Sabes was co-founder, Director, and Executive Vice President

of GWG Holdings, Inc. until on or about April 26, 2019. Defendant Steven Sabes is also the Chief

Operating Officer of Defendant FOXO Technologies Inc. Defendant Steven Sabes is believed to

reside in or near Minneapolis, Minnesota.

       21.     Defendant Peter T. Cangany Jr. has been a Director with GWG Holdings, Inc. since

April 26, 2019. Defendant Peter T. Cangany is also currently a Director of The Beneficient

Company Group L.P. Defendant Peter T. Cangany is believed to reside in or near Bellevue,

Washington.

       22.     Defendant Richard W. Fisher was a Director of GWG Holdings, Inc. from April

26, 2019 until October 21, 2019. Defendant Richard W. Fisher also currently serves as a Senior

Partner Director with The Beneficient Company Group, LP. Defendant Richard W. Fisher is

believed to reside in or near Dallas, Texas.




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       23.     Defendant Thomas O. Hicks was a Director of GWG Holdings, Inc. from April 26,

2019 until June 14, 2021. Defendant Thomas O. Hicks is currently a Director of the Beneficient

Company Group L.P. Defendant Thomas O. Hicks is believed to reside in or near Dallas, Texas.

       24.     Defendant Dennis P. Lockhart was a Director of GWG Holdings, Inc. from May

13, 2019 to June 14, 2021. Defendant Dennis P. Lockhart is currently a Director of The Beneficient

Company Group L.P. Defendant Dennis P. Lockhart is believed to reside in or near Atlanta,

Georgia.

       25.     Defendant Bruce W. Schnitzer was a Director of GWG Holdings, Inc. from April

26, 2019 to June 14, 2021. Defendant Bruce W. Schnitzer is currently a Director of The Beneficient

Company Group L.P. Defendant Bruce W. Schnitzer is believed to reside in or near Litchfield,

Connecticut.

       26.     Defendants Heppner, Jon Sabes, Steven Sabes, Cangany, Fisher, Hicks, Lockhart,

and Schnitzer are herein referred to as the “Individual Defendants”.

       27.     Defendant The Beneficient Company Group L.P. (“Ben LP”) is a limited

partnership organized in Delaware with its principal offices at 325 N. Saint Paul St., Suite 4850,

Dallas, Texas 75201. Ben LP’s agent for service of process is Corporation Service Company d/b/a/

CSC-Lawyers Incorporating Service Company 211 East 7th Street, Suite 620 Austin, TX 78701-

3218. Ben LP’s website states that it “provides private trust solutions, including a unique suite of

private trust, lending and liquidity products, to bring liquidity to owners of alternative assets.”

       28.     Defendant FOXO Technologies Inc. (“FOXO”) is a corporation organized in

Delaware with its principal offices at 220 South Sixth Street, Suite 1200, Minneapolis, MN 55402.

FOXO’s agent for service of process is Registered Agent Solutions, Inc., 1010 Dale Street North

St. Paul, MN 55117. In securities filings FOXO describes itself as “a technology platform company




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focused on commercializing longevity science through products and services that serve the life

insurance industry.”

         29.   Defendant Emerson Equity LLC (“Emerson Equity”) is a limited liability company

organized in California with its principal office at 155 Bovet Road, Suite 725, San Mateo, CA

94402. Emerson Equity’s agent for service of process is an individual named Dominic Julio

Baldini located at 155 Bovet Road, Suite 725, San Mateo, CA 94402. During the Class Period,

Emerson Equity induced investors to buy GWG’s L Bonds without disclosing the material risks

and bonds’ illiquid nature.

IV.      DEFENDANTS’ SCHEME TO DEFRAUD GWG INVESTORS FOR THEIR
         PERSONAL GAIN

         30.   Throughout the Class Period, the Individual Defendants participated in a scheme to

defraud GWG investors for their own gain. Defendants’ actions, in essence, constituted a Ponzi

scheme. Through their control over GWG, the Individual Defendants caused GWG to sell

increasing amounts of its securities to investors. Defendants used substantial portions of the

proceeds from the sale of GWG securities to repay prior GWG investors, who GWG could not

otherwise repay with insufficient revenue from its failing business. Defendants also diverted

substantial portions of the proceeds from the sale of GWG securities for Defendants’ own private

use.

         31.   Defendants carried out their scheme through a highly complex and opaque series

of financial transactions throughout the Class Period. These were designed to give the appearance

of legitimate business transactions, while concealing the true nature of Defendants’ scheme.

         32.   In recent reporting, the Wall Street Journal describes Defendants’ scheme as

follows:

         Bond salesmen working out of strip malls across America pitched GWG Holdings
         Inc. as a good investment. The company would use money raised from bond sales


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       to buy life-insurance policies from people who wanted cash up front, then collect
       the payouts when those people died. Investors, many of them elderly and retired
       individuals, put $1.3 billion into the bonds.

       What many of these retail investors didn’t know was that GWG’s founders and a
       board director would each use the money to fund and launch their own startup
       ventures, then move them out of the investors’ reach, according to people familiar
       with the matter. The roughly 27,000 individuals who bought GWG’s unique debt
       securities, known as L Bonds, are now facing huge potential losses – for many,
       their retirement nest eggs.

Alexander Gladstone, WALL STREET JOURNAL, Retail Investors Face $1.3 Billion Hit After Asset

Manager’s Detour Into Startups (June 24, 2022).

       33.    In a follow up article, the Wall Street Journal further reported that:

       Mr. Heppner and his associates gained effective control of GWG in 2019, as he
       sought to tap into a nationwide network of broker-dealers that had sold the
       company’s bonds for years to individual investors, many of them elderly and
       retired, according to people familiar with Mr. Heppner’s strategy. After Mr.
       Heppner became GWG’s chairman, the company used that network to ramp up its
       bond sales. As it repaid some earlier investors, GWG also transferred $230 million
       to Beneficient Co. Group LP, a financial-services startup founded and led by Mr.
       Heppner.

       Much of those capital contributions from GWG were then distributed to Mr.
       Heppner and his affiliated business entities, helping him repay debt he had
       incurred to buy and develop a nearly 1,500-acre ranch in Texas, and providing
       him with access to private jets among other benefits, according to people familiar
       with the matter and internal documents reviewed by the Journal.

Alexander Gladstone, WALL STREET JOURNAL, An Asset-Management Merger Ended in

Bankruptcy, While Its Architect Got $174 Million (July 29, 2022).

       34.    The Wall Street Journal reported that since 2018 GWG had raised over $1 billion

from investors, with $813 million going to repay prior investors, $230 million going to Defendant

Ben LP, $197 million lost through operating expenses, $43 million going to Defendants Jon and

Steven Sabes, and $28 million going to Defendant FOXO.




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       35.     The Wall Street Journal further reported that GWG is now a mere shell of its former

business, and that despite its large contributions to Defendants Ben LP and FOXO, GWG has

relinquished control over them:

       GWG no longer controls either of the startup ventures. Mr. Heppner, Mr. Sabes,
       and their associates carved out both ventures as independent entities shortly before
       the company collapsed into bankruptcy in April.

       The judge overseeing the court proceedings in Houston said he had never before
       seen a company give up control of everything it owns before seeking chapter 11
       protection.

       36.     GWG had 160 employees as recently as December 2020. It now has two employees.

       37.     The business combination between GWG and Ben LP came about as a way for the

Defendants to pursue their own financial self-interest at the expense of GWG investors. Through

this business combination and the accompanying series of complex financial transactions, (i)

Defendants Jon and Steven Sabes were able to cash out of their failing investment in GWG’s life

insurance investment business while obtaining funding for the business of Defendant FOXO which

was under their control, and (ii) Defendant Heppner was able to obtain funding for Defendant Ben

LP which was under his control. Because none of GWG, Defendant FOXO, or Defendant Ben LP

operated at a profit, the source for substantially all of this funding was the contributions made to

GWG by its investors.

       38.     As reported by the Wall Street Journal:

       Mr. Sabes wanted to get out of his investment in GWG, according to these people,
       and focus entirely on his DNA testing venture . . .

       In 2017, Mr. Sabes found a match in Mr. Heppner . . .

       Mr. Heppner’s venture, Beneficient, was at the time a fledgling startup that aimed
       to help wealthy people and institutions monetize illiquid assets they owned . . . To
       make it a reality, he needed a ready way to raise capital and accumulate assets under
       management, according to people familiar with the startup.




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       In GWG, Mr. Heppner found a company that had proven itself at raising capital,
       with an established network of around 140 bond dealers throughout the country,
       adept at selling securities to individual investors willing to bet on unusual assets.

       And the Sabes brothers found a way to cash out.

       39.     Defendant Heppner came to control GWG in a series of transactions between

GWG, Ben LP, and private equity firm Paul Capital Advisors (“Paul Capital”). The transactions

were planned and executed over 2017-2019. These transactions are now the subject of a pending

lawsuit by Paul Capital against Defendant Ben LP and various related parties (Delaware Chancery

Civil Action No. 2022-0167-SG).

       40.     In 2017 Paul Capital sought to exit its private equity business, and intended to sell

certain illiquid, privately held investment assets having a net asset value of approximately $500

million (“Paul Capital Investments”). At the same time, Defendants Heppner and Ben LP (which

was more of a concept than an actual business, lacking any substantial assets or operations) wanted

to enter the alternative investments business, and sought to acquire the assets being sold by Paul

Capital. However, Defendants Ben LP and Heppner had no way to come up with $500 million on

their own.

       41.     On September 1, 2017 Paul Capital and Defendant Ben LP agreed to a complex

series of transactions under which, in summary (i) Defendant Ben LP would gain control over the

Paul Capital Investments, (ii) Paul Capital would be paid in equity units of Defendant Ben LP, and

(iii) Defendant Ben LP committed to list its equity units on a U.S. exchange and to auction its units

for cash in advance of such listing, and (iv) in this manner, Paul Capital was supposed to receive

approximately $500 million in cash. Paul Capital was never paid in full and is suing Defendant

Ben LP and its affiliates to recover the shortfall.




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       42.     On December 23, 2017, Paul Holland (a middleman in the Paul Capital / Ben LP

transactions, and a friend of Defendant Heppner) informed Paul Capital that the auction of

Defendant Ben LP’s equity units had generated a winning “bid,” and that the winning “bidder”

was GWG.

       43.     This “bid” from GWG made no business, economic, or strategic sense, and

represented an abrupt departure from the business plans previously disclosed to GWG’s investors

of purchasing life insurance policies from insureds in order to collect death benefits. At year-end

2017 GWG estimated the fair value of its insurance policies to be $650 million, so acquiring a

$500 million portfolio of illiquid private equity investments would radically change its business.

Moreover, like Defendant Ben LP, GWG did not have $500 million with which to fund the

transactions. Substantially all of GWG’s assets were tied up in operating its failing life insurance

investment business. Defendants Jon and Steven Sabes lacked relevant experience, and had no

intention, to operate a private equity business.

       44.     In reality, GWG’s “winning bid” for the Defendant Ben LP equity units

(substantially all of whose value derived from the Paul Capital Investments that Ben LP would

obtain as part of the same overarching transaction) was the beginning of Defendants’ fraudulent

scheme to divert GWG investors’ funds to their own private use. The bid was engineered by

Defendant Heppner as a means to obtain control over the Paul Capital Investments and

simultaneously obtain control over GWG’s assets and its network of brokers and investors to raise

additional funds. Defendants Jon and Steven Sabes agreed to participate in the scheme in order to

cash out of GWG’s failing life insurance investment business.

       45.     Following the beginning of Defendants’ scheme in 2017, Defendants Heppner, and

Jon and Steven Sabes caused GWG to issue large and increasing amounts of securities to GWG’s




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investors, representing a dramatic increase from GWG’s prior issuance. In 2018 GWG received

proceeds of $264 million from the issuance of debt securities, and $106 million from issuance of

preferred stock. In 2019 GWG received proceeds of $403 million from issuance of debt securities.

And in 2020 GWG received proceeds of $440 million from issuance of debt securities. In the nine

months, which ended September 30, 2021, GWG received proceeds of $155 million from issuance

of debt securities (GWG could not sell securities for much of 2021 due to its inability to make

required financial reports). On April 20, 2022, GWG filed for Chapter 11 bankruptcy.

       46.     The deal between GWG and Defendant Ben LP was first announced to GWG’s

public investors on January 18, 2018. After a series of delays and amendments to their agreements,

GWG and Defendant Ben LP completed the first of two closings pursuant to the agreements on

August 20, 2018.

       47.     In the midst of these transactions, Defendants Jon and Steven Sabes extracted

substantial investor funds from GWG. Because GWG operated at a loss at all times, it historically

did not pay dividends on its common stock, and repeatedly disclosed to investors that it did not

expect to do so in the foreseeable future. However, on August 10, 2018, GWG declared a special

dividend of $4.30 per share of common stock payable to shareholders of record on August 27,

2018. Based on the approximately 5.8 million shares of GWG common stock outstanding at the

time, the total dividend payment amounted to over $25 million. Based on their combined

ownership of approximately 75% of GWG’s common stock at the time, Defendants Jon and Steven

Sabes received approximately $18 million from this dividend. This dividend was funded not by

GWG’s profits (there were none), but by the sale of preferred stock to GWG investors.

       48.     After further delays and modifications to the terms of the agreement between GWG

and Defendant Ben LP, they completed the second and final closing on December 28, 2018.




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       49.     Promptly thereafter, Defendants arranged for the exit, and additional payout, of

Defendants Jon and Steven Sabes. On April 16, 2019 GWG announced that Defendants Jon and

Steven Sabes had entered into a Purchase and Contribution Agreement with Defendant Ben LP,

pursuant to which, on April 26, 2019: (i) Defendants Jon and Steven Sabes sold and transferred all

of the shares of GWG’s common stock held directly and indirectly by them and their immediate

family members to affiliates of Defendants Ben LP and Heppner, (ii) all seven members of GWG’s

Board of Directors resigned as directors of GWG, and 11 individuals designated by Defendant Ben

LP were appointed as directors of GWG, including Defendants Heppner, Cangany, Hicks,

Lockhart, and Schnitzer, (iii) Defendants Jon and Steven Sabes resigned from all officer positions

with GWG and its subsidiaries except for their positions with FOXO’s predecessor companies,

(iv) Defendants Jon and Steven Sabes received $25 million in cash, as well as equity interests in

an affiliate of Defendant Ben LP, and (v) GWG, under the control of Defendant Ben LP, would

spin off the predecessor companies of Defendant FOXO and provide them with $20 million of

funding over two years.

       50.     In total, Defendants Jon and Steven Sabes took $43 million in cash and $20 million

in promised funding for Defendant FOXO, in addition to other valuable consideration, upon their

exit from the failing GWG in 2019.

       51.     Like Defendants Jon and Steven Sabes, Defendant Heppner also diverted GWG

investors’ funds to further his own private interests. According to the Wall Street Journal, in

connection with the 2017-2019 agreements and transactions among Defendant Ben LP, GWG, and

Paul Capital, Defendant Heppner obtained tens of millions of dollars in cash and property, for

which GWG’s investors were the ultimate source of funds:

       As part of those transactions, Beneficient took out $20.2 million in additional debt
       that it used to purchase a technology company owned by Mr. Heppner, according



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       to people familiar with the matter and a 2019 corporate document reviewed by the
       Journal.

       The technology assets were more than a decade old and were soon written off,
       people familiar with the matter said. Around the time of the deal with Paul Capital,
       Beneficient also distributed to Mr. Heppner net assets of $59.1 million related to
       certain “ranch and ranch-related business activities,” and later listed them on
       Beneficient’s income statement as “discontinued operations,” according to the
       corporate document.

       The ranch referred to in the document is the Bradley Oaks Ranch in Bradford, about
       90 miles southeast of Dallas, people familiar with the matter said.

       The debt that Beneficient borrowed to buy the technology company from Mr.
       Heppner, as well as to purchase and develop the ranch, would later be repaid
       following the merger with GWG with funds raised from its bond sales, according
       to people familiar with the matter.

       52.     According to the Wall Street Journal’s reporting, the Dallas-area property that

Defendant Heppner obtained in this manner is a luxury ranch, “including swimming pools, horse

stables, ponds stocked with fish, and miles of trails for hiking, biking and horseback riding.”

Despite distributing it to Defendant Heppner, Defendant Ben LP continued to pay millions of

dollars per year to fund “the maintenance of the ranch, which has a staff of full-time employees,

including chefs, groundskeepers and professionals who maintain the equestrian facilities.”

According to the Wall Street Journal, “[w]hile the ranch occasionally hosts college students doing

ecological research, it is used almost entirely for the benefit of Mr. Heppner’s family, friends and

business associates.”

       53.     The Wall Street Journal reported that Defendant Ben LP also paid millions of

dollars per year for Defendant Heppner and his family to undertake personal travel by private jet:

       Beneficient has also made recurring payments to an entity that Mr. Heppner
       controls, according to people familiar with the matter, called Bradley Capital Co.
       LLC. Beneficient is “required to reimburse Bradley Capital for out-of-pocket
       expenses incurred by Bradley Capital employees, including reimbursement for
       private travel including the family members of designated executives of Bradley
       Capital for both business and personal use,” according to securities filings.



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        Beneficient contributed $9.4 million to Bradley Capital between 2018 and 2021,
        the filings show.

        People familiar with the matter said that the money was used to pay for Mr.
        Heppner and his family and associates to fly in private jets, including frequent
        trips to Southern California.

Those funds were also ultimately derived from the contributions of GWG’s investors.

        54.     Also as reported by the Wall Street Journal, Defendant Heppner’s equity in

Defendant Ben LP was converted into a $72 million debt facility in 2018, which was consolidated

with other debt on Defendant Ben LP’s balance sheet held by an entity associated with Defendant

Heppner. Defendant Heppner and his affiliates then received “payments of at least $156.5 million

. . . with help from the capital contributions Beneficient received from GWG.”

   V.         DEFENDANTS HEPPNER, JON SABES, AND STEVEN SABES EMPLOYED
              A NETWORK OF BROKERS TO FACILITATE THEIR SCHEME TO
              DEFRAUD INVESTORS FOR THEIR OWN PERSONAL GAIN

        55.     In order to facilitate the series of self-interested transactions between GWG and

Ben LP, and fund unprecedented dividends, Defendants Jon and Steven Sabes caused GWG to

increase the quantity and frequency of securities already being sold to investors.

        56.     To raise an ample amount of funds to allow GWG to complete their transaction

with Ben LP, launch Defendant FOXO, fund the lavish lifestyle of Defendant Heppner, while

providing unprecedented dividend payments to Defendants Jon and Steven Sabes, a network of

broker-dealers was necessary to tout and sell GWG securities to the Plaintiffs, class members, and

thousands of other investors.

        57.     The Individual Defendants employed brokers across the United States, including

Defendant Emerson Equity to sell GWG’s L Bonds, which were illiquid and highly risky.

        58.     GWG’s L Bonds were debt securities that were supposed to finance GWG’s

purchase of life insurance policies on the secondary market. The concept behind the L Bonds was



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to use the investors’ funds to purchase the life insurance policies, and then repay those investors

with distributions received from the life insurance policies purchased once the holder passed away.

       59.     According to Registration Statements filed with the SEC for GWG’s L Bonds,

Defendant Emerson Equity played a key role in promoting and selling L Bonds to Plaintiffs, class

members, and other investors during the Class Period. A Registration Statement filed with the SEC

on May 15, 2020 summarizes Emerson Equity’s role in the sale of GWG’s L-Bonds as follows:

       The L Bonds will be offered and sold on a best-efforts basis by Emerson Equity
       LLC, a registered broker-dealer and member of the Financial Industry Regulatory
       Authority (“FINRA”). Emerson Equity will be our dealer manager for the L Bonds
       in this offering for purposes of the Securities Act of 1933, as amended. Our dealer
       manager will enter into participating dealer agreements with certain other broker-
       dealers that are members of FINRA, referred to as “selling group members,” to
       authorize those broker-dealers to sell our L Bonds.

       We will pay Emerson Equity a selling commission ranging from 0.75% to 5.00%
       of the principal amount of L Bonds sold, depending on the L Bonds’ maturity date.
       We will also pay Emerson Equity additional compensation consisting of those
       items set forth in footnote (1) to the table below. The dealer manager will share its
       commissions and additional compensation, other than its dealer manager fee, with
       selling group members pursuant to the terms of each participating dealer agreement.

       60.     In addition to sales completed directly through their own employed brokers and

leadership, including their CEO and CCO, Dominic Baldini, Emerson Equity partnered with

multiple other broker-dealers and their firms to sell and promote GWG’s L Bonds to class members

during the Class Period.

       61.     Regardless of the pressure placed on broker-dealers by GWG to promote and sell

their L Bonds, and the necessity of such sales to provide a continual influx of capital to fund their

self-interested transactions, the uncertainty and risk associated with GWG’s L Bonds was no secret

to Defendants Emerson Equity. As disclosed in the L Bond’s 2020 Prospectus, “The L Bonds are

only suitable for persons with substantial financial resources and with no need for liquidity in this

investment.” As if such warning was insufficient to put Emerson Equity on notice of the



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investment’s limited suitability, the quality of the L Bonds and past performance of GWG should

have indicated their extreme risk and unlikely success.

       62.     First, the L Bonds were not rated by any bond rating agency to determine the credit

risk associated with the bond and its issuer. Next, according to SEC v. Western Int’l Securities,

Inc. et al, Case No. 2:22-cv-04119 (C.D. Cal. June 15, 2022), an enforcement action against

broker-dealers selling GWG’s L-Bonds, “GWG [had] a history of net losses and has not generated

sufficient operating and investment cash flows to funds its operations. For the year ended

December 31, 2019, GWG posted a net loss from operations of $79.6 million and negative

operating cash flow of $142.8 million.” Lastly, even after a series of transactions that completely

reconstructed GWG’s business from the acquisition of life insurance policies to alternative

investments, Defendant Emerson Equity increased the frequency and amount of L Bonds sold to

investors. GWG’s escalation in L Bond sales through Defendant Emerson Equity facilitated their

transactions with Ben LP, which could only be explained as a series of transactions designed to

allow Defendant Heppner to line his pockets with investor funds and support the exits of

Defendants Jon and Steven Sabes.

       63.     In an article addressing broker-dealers’ aggressive sales efforts, author Bruce

Kelley highlighted the red flags surrounding GWG:

       There were plenty of other red flags about GWG bonds, which paid brokers
       handsome commissions when they sold them to clients. In 2019, GWG twice told
       the SEC and the public in filings it wasn’t going to be able to file its quarterly or
       annual financial statements on time, always a danger sign. And when the company
       eventually filed an annual report in March 2020, it warned of “several material
       weaknesses” linked to, among a list of items, the financial reporting process and
       insufficient accounting resources.

       In that same time period of 2018 and 2019, GWG undertook a complicated financial
       transaction with the Beneficent Company Group, an unrelated company, to create
       a start-up financial services business with the aim of diversifying GWG.




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         Beneficient’s management eventually took over GWG, only to separate from the
         company….

         That’s a ton of noise for financial advisers to make sense of in order to
         recommend or sell a product. But broker-dealers and their reps kept selling
         GWG’s life settlement-backed bonds, marketed as L Bonds, despite all the
         accounting and reporting static.

Bruce Kelley, Investment News, Broker picked wrong time to boost bet on GWG bonds (May 11,

2022).

         64.   Despite these evident red flags surrounding the stability and suitability of GWG’s

L Bonds, broker-dealers nationwide, including those employed by Defendant Emerson Equity,

sold these L Bonds to retirees and retail investors whose investment objectives did not include

speculation.

         65.   Knowing that GWG depended on debt financing, such as L Bonds, to fund their

operations, coupled with the potential for large commissions based on the amount of L Bonds sold,

Defendant Emerson Equity blindly touted GWG’s L Bonds as safe investments earning high

interest for investors. In fact, in the wake of GWG’s serious losses in 2019, broker-dealers

commissioned by Defendant Emerson Equity even urged long-time GWG investors to re-invest in

GWG and purchase additional L Bonds while remaining silent on the state of GWG and continuing

to collect his generous commissions.

         66.   Without a rating by any bond agency and given the current state of GWG at the

time the investors were told to purchase L Bonds, Defendant Emerson Equity manipulated

investors to invest in exchange for commission fees by promoting GWG’s L Bonds as safe

investments suitable for retail investors and retirees.

         67.   Defendant Emerson Equity also withheld material information from investors

including, SEC investigations into the business of GWG, its history of losses and perpetual




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suffering due to the self-interested transactions between Defendant Heppner and Jon and Steven

Sabes, and the true use of investor funds to pay life insurance premiums and high-yield interest to

other L Bond investors rather than its intended purpose to purchase life insurance policies from

consumers.

         68.   Unfortunately, GWG, unable to fully recover from their transactions with Ben LP

and payouts to Jon and Steven Sabes, could not continue selling enough L Bonds or other securities

to generate enough funds to continue repaying prior investors. On January 15, 2022, investors were

informed in GWG’s Form 8-K that they “did not make the January 15, 2022 interest payment of

approximately $10.35 million and principal payments of approximately $3.25 million with respect

to L Bonds…” and would be suspending further sales of L Bonds. GWG filed Chapter 11

bankruptcy a little over three months later on April 20, 2022.

         69.   Defendant Emerson Equity fraudulently induced investors to relinquish their

retirement funds to supply capital to a company they knew or should have known was operating

at a loss. In exchange for the opportunity to receive considerable commissions based on the sale

of GWG’s L Bonds and preferred stock, the above-mentioned brokers enticed unsuitable investors

to part with their funds with the promise of substantial returns.

VI.      DEFENDANTS HEPPNER AND BEN LP ABANDON GWG AMID AUDITOR
         RESIGNATIONS, ONGOING SEC INVESTIGATIONS, AND GWG’S
         INABILITY TO CONTINUE ISSUING SECURITIES

         70.   Shortly after Defendants began their scheme and proceeded to divert the assets

contributed to GWG by investors for their own private use, GWG ran into trouble with its auditors

and with the SEC. Having gained control over GWG and its investors’ funds in 2018 and 2019,

Defendants Heppner and Ben LP abruptly separated themselves from GWG in 2021 once it became

clear that they could no longer use GWG to obtain additional investor funds.




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       71.     On April 2, 2019, GWG reported that it would not timely file its 2018 annual report

on SEC Form 10-K, due in part to accounting complications arising from its agreements with

Defendant Ben LP:

       Due to a delay in (i) finalizing the accounting for certain assets and liabilities
       exchanged pursuant to the Amended and Restated Master Exchange Agreement,
       dated January 18, 2018, as amended, between the Registrant and The Beneficient
       Company Group, L.P., among others, and (ii) completing the evaluation of fair
       value of our life insurance policies and recording a change in value expected to be
       taken in the fourth quarter of fiscal 2018 (see note 22 (Subsequent Event) to the
       financial statements included in the Registrant’s Quarterly Report on Form 10-Q
       filed with the Securities and Exchange Commission on November 19, 2018), the
       Registrant was not able to complete its financial statements as of and for the year
       ended December 31, 2018 within the prescribed time period without unreasonable
       effort and expense.

       72.     GWG was forced to temporarily suspend its issuance of securities, due to its delay

in making required SEC filings. GWG ultimately filed its 2018 Form 10-K on July 9, 2019.

       73.     Shortly thereafter, GWG disclosed that “On August 5, 2019, GWG Holdings, Inc.

. . . received oral notice from its registered public accounting firm, Baker Tilly Virchow Krause,

LLP (“Baker Tilly”), that Baker Tilly would decline to stand for re-appointment as the Company

certifying accountant for fiscal year 2019.” At the same time, GWG announced the engagement of

Whitley Penn LLP as its new auditor.

       74.     Mere days later, on August 15, 2019, GWG disclosed that it would be unable to

timely file its second quarter 2019 quarterly report on SEC Form 10-Q, once again due to

accounting complications arising from its agreements with Defendant Ben LP:

       Due to (i) the timing of the Registrant’s recent transition to a new independent
       registered public accounting firm, and (ii) the Registrant’s continued evaluation of
       the appropriate accounting treatment for the purchase and contribution transaction
       completed in April 2019 (the “Purchase and Contribution Transaction”), the
       Registrant was not able to complete its financial statements as of June 30, 2019 and
       for the three and six months then ended within the prescribed time period without
       unreasonable effort and expense.




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        75.     On September 23, 2020, GWG announced that it would replace Whitley Penn as

auditor, after barely one year, with Grant Thornton LLP. Similarly, little more than one year after

its appointment as GWG’s auditor, on December 31, 2021 Grant Thornton notified GWG that it

would not stand for reappointment.

        76.     Since October 6, 2020 GWG has been responding to an investigation by the SEC’s

Division of Enforcement, in which the SEC has requested information regarding GWG’s

investment products, the consolidation for financial reporting purposes of Defendant Ben LP by

GWG, goodwill valuation, related party transactions, and GWG’s accounting related to life

insurance policies. Defendants did not disclose the investigation to investors until November 2021.

The SEC’s investigation remains ongoing.

        77.     The SEC has also been investigating brokers that sold GWG securities to investors.

On June 15, 2022 the SEC charged registered broker-dealer Western International Securities, Inc.

and five of its brokers with violating Best Interest Obligation regulations (commonly referred to

as Regulation Best Interest or Reg BI) when they recommended and sold GWG securities to

retirees and other retail investors.

        78.     On February 15, 2021 GWG “submitted two questions to the Securities and

Exchange Commission’s . . . Office of the Chief Accountant (‘OCA’) on February 15, 2021.”

GWG would not disclose this fact to investors until months later on July 7, 2021, when it stated

that “The questions submitted by the Company to OCA were (1) whether the December 31, 2019

transaction resulted in GWG obtaining control of The Beneficent Company Group, L.P. . . . in a

transaction that constituted a change-in-control of Ben by entities not under common control, and

(2) whether Ben was required to consolidate any of the ExAlt Plan trusts.” On April 1, 2021 GWG

disclosed that it could not timely file its 2020 annual report because “the Company requires




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additional time to complete its financial statements and related disclosures.” GWG was once again

forced to suspend issuance of securities as its auditors and the SEC worked to resolve these

accounting issues.

        79.    On August 3, 2021 GWG disclosed that its previously issued financial statements

“should no longer be relied upon,” and that this conclusion was “based upon the resolution of the

consultation process with the SEC’s Office of the Chief Accountant.”

        80.    After Defendant Heppner had diverted substantial GWG investor funds for his own

personal use, with GWG now unable to sell additional securities to investors, and amid the series

of accounting issues, auditor resignations, and SEC investigations following the merger of GWG

and Defendant Ben LP, Defendants Heppner and Ben LP sought to extricate themselves from

GWG.

        81.    On June 11, 2021, Defendant Heppner resigned as director and Chairman of GWG,

effective on June 14, 2021. He had become Chairman of GWG only two years earlier in April

2019.

        82.    On August 25, 2021 GWG announced that it had entered into a term sheet

agreement with Defendant Ben LP, outlining a series of transactions which would result in, among

other things, Defendant Ben LP no longer being a consolidated subsidiary of GWG, and GWG

giving up its rights to appoint directors of an affiliate of Ben LP.

        83.    On November 15, 2021 and December 3, 2021 GWG announced further steps in

Defendant Ben LP’s separation from GWG, including GWG’s agreement to certain changes to the

organizational documents of Defendant Ben LP. GWG further announced that it had agreed to

accept limited partnership units in Defendant Ben LP in full satisfaction of a $202 million debt

owed by Defendant Ben LP to GWG.




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VII.   THE RISKS CONCEALED BY DEFENDANTS MATERIALIZED, CAUSING
       GWG’S INABILITY TO REPAY ITS INVESTORS AND ITS BANKRUPTCY

       84.     Defendants’ fraudulent scheme ultimately collapsed once GWG was no longer able

to continue issuing increasing amounts of securities in order to repay prior investors.

       85.     GWG temporarily ceased its sale of securities in April of 2021 because it was

unable to timely file its 2020 Form 10-K. GWG subsequently filed its 2020 Form 10-K on

November 5, 2021 and resumed selling securities, however GWG did not manage to sell similar

quantities of securities as it had done previously. After Grant Thornton’s resignation as GWG’s

auditor on December 31, 2021, GWG was once again forced to suspend its issuance of securities.

       86.     On January 18, 2022, GWG disclosed that it “did not make the January 15, 2022

interest payment of approximately $10.35 million and principal payments of approximately $3.25

million with respect to its L Bonds”. On that day, GWG’s common stock closed at $5.65 per share,

a loss of 27.7% as compared to the prior trading day’s closing price.

       87.     On January 27, 2022 the Wall Street Journal reported that GWG was “seeking

rescue financing in an effort to avoid bankruptcy after accounting issues and the resignation of its

auditor prevented it from selling its products.” On that day, GWG’s common stock closed at $2.95

per share, a loss of 20.5% as compared to the prior trading day’s closing price.

       88.     On February 14, 2022 GWG announced that it was working with “financial and

legal advisors hired to assist the Company’s Board of Directors and management in identifying

and evaluating restructuring alternatives” and that it had “paused L Bond sales and will not make

monthly interest and maturity payments on its L Bonds, or dividends on the Redeemable Preferred

Stock and Series 2 Redeemable Preferred Stock, while continuing to defer requests for

redemptions.” On that day, GWG’s common stock closed at $3.22 per share, a loss of 13.8% as

compared to the prior trading day’s closing price.



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       89.     On April 20, 2022, GWG filed for Chapter 11 bankruptcy. The bankruptcy case

remains ongoing. In re: GWG Holdings, Inc., et al., Case No. 22-90032 (Bankr. S.D. Tex.).

       90.     GWG investors have not received the payments to which they are entitled since at

least February 2022, and the value of their GWG securities has been substantially destroyed.

VIII. MATERIAL OMISSIONS AND MISLEADING STATEMENTS ISSUED DURING
      THE CLASS PERIOD

       91.     Throughout the Class Period, Defendants failed to disclose material adverse facts

about GWG’s business, operations, and prospects. Specifically, the Individual Defendants failed

to disclose to investors that (i) they intended to, and did, misappropriate GWG assets to assist

Defendants Heppner, and Jon and Steven Sabes launch their start-up companies, repay Ben LP’s

debt incurred from the transaction with Heppner’s tech company, and funnel investor funds

through Ben LP to fund Heppner’s luxurious ranch and use of private jet travel; (ii) GWG’s life

insurance investment business had failed; and (iii) GWG could only repay prior investors by

issuing increasing amounts of securities to new investors. In essence, Defendants had turned GWG

into a Ponzi scheme.

       92.     In addition, throughout the Class Period, Defendant Emerson Equity failed to

disclose to investors that (i) GWG’s L Bonds had not been rated by any bond agency, while blindly

touting them as safe investments, (ii) GWG was operating at a loss during the Class Period, and

instead of informing Plaintiffs, class members, and other investors of GWG’s failing business,

investors were encouraged to invest and re-invest their funds, and (iii) the Individual Defendants

had entered into a series of self-interested transactions that completely altered GWG’s business

structure, which resulted in the pay outs of over $60 million in cash and promised funding to

Defendants Jon and Steven Sabes and their start-up, Defendant FOXO. Further, the above-

mentioned Defendants misrepresented the safety and suitability of GWG’s L Bonds by (i) advising



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and describing the L Bonds as “safe” investments with potential to receive high returns from

interest payments, and (ii) encouraging unsuitable investors to invest their retirement in illiquid,

risky bonds.

       93.     Defendants’ actions to conceal the true nature of their actions constituted a scheme

to defraud investors. This scheme consisted in substantial part of Defendants orchestrating

numerous complex transactions lacking in bona fide business purposes, which were designed to

enrich the Defendants, hide their misconduct from investors, and leave GWG in ruins to the

detriment of its investors.

       94.     As a result of the foregoing scheme and material omissions, Defendants’ positive

statements about GWG’s business, operations, prospects, and L Bond safety and suitability were

materially misleading to reasonable investors.

       95.     On January 18, 2018, the Individual Defendants caused GWG to issue a press

release regarding the planned combination of GWG and Defendant Ben LP. The press release

quoted Defendant Jon Sabes as stating:

       We are pleased to announce a strategic relationship with one of the most innovative
       companies in the alternative asset industry, . . . BEN is partnering with GWGH
       because they’ve identified the life insurance asset class as a key enhancement to
       their diversified endowment portfolio of high-quality alternative assets for which
       they provide loans and liquidity. And while GWGH will continue to execute our
       announced strategies to our utmost capacity, we also look forward to rolling out
       BEN’s innovative alternative asset liquidity products to independent broker-dealers
       and RIAs once BEN obtains its pending regulatory approvals.

       96.     The January 18, 2018 press release quoted Defendant Heppner as stating:

       GWG Holdings is the perfect partner for us as we execute on our business plan and
       expand our product offerings . . . We have been committed to adding the life
       insurance asset class to our business plan and our mix of alternative asset classes
       that we administer and lend against. GWGH’s expertise in the life insurance
       secondary market, as well as management’s commitment to growth and innovation,
       blend perfectly into the emerging opportunity to provide liquidity and
       administrative services to the alternative asset investors we serve.



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          97.    On March 29, 2018 the Individual Defendants caused GWG to file its 2017 annual

report on SEC Form 10-K, which was signed by Defendants Jon and Steven Sabes. The 10-K

stated:

          We are a financial services company committed to transforming the life insurance
          industry with disruptive and innovative products and services . . . We are working
          to enhance and extend our business in the life insurance industry through continued
          innovation in our products and services, including the application of advanced
          technology. Finally, we entered into a strategic relationship with The Beneficient
          Company Group, L.P. that we expect to provide a significant increase in assets,
          common shareholder equity and earnings.

          98.    On April 16, 2019 Defendants caused GWG and Defendant Ben LP to issue a press

release titled “GWG Holdings and The Beneficient Company Announce Significant Expansion of

Strategic Relationship”. The press release quoted Defendant Jon Sabes as stating:

          Founding and building GWG has been the highlight of my business career to date.
          The opportunity to expand GWG’s financial services platform with BEN and its
          leadership team exceeds my expectations. The time has come for the business of
          earning non-correlated returns from illiquid alternative assets to be taken to the next
          level of success – and BEN aligned with GWG is the team to do just this. While at
          the same time, our technology businesses - Life Epigenetics and YouSurance - need
          my full attention as we plan full operationalization in 2019.

          99.    The April 16, 2019 press release quoted Defendant Heppner as stating:

          Our expanded relationship with GWG is a compelling next step for BEN, providing
          valuable financial, strategic and operational resources to launch our liquidity
          products at scale. We have established BEN as a distinct financial services
          platform, providing a comprehensive suite of innovative lending and liquidity
          products that are capable of meeting the rapidly growing liquidity demands from
          more than one million high net worth individual investors and small-to-medium
          institutional owners of alternative assets. Further, we are delighted to build an even
          stronger working relationship with GWG’s employees and investor constituencies,
          as we collectively build a team that is second to none.

          100.   On July 9, 2019, Defendants caused GWG to file its 2018 annual report on SEC

Form 10-K, which was signed by Defendant Heppner. The 10-K stated:




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         We are a financial services company committed to transforming the alternative
         asset industry with disruptive and innovative products and services. In 2018 and
         early 2019 we consummated a series of transactions (as more fully described
         below) with Beneficient that has resulted in a significant reorientation of our
         business and capital allocation strategy towards an expansive and diverse exposure
         to alternative assets . . . Beneficient’s existing and planned products and services
         are designed to support the tax and estate planning objectives of its MHNW clients,
         facilitate a diversification of assets or simply provide administrative management
         and reporting solutions tailored to the goals of the investor who owns alternative
         investments.

         101.   On March 27, 2020 Defendants caused GWG to file its 2019 annual report on SEC

Form 10-K, which was signed by Defendant Heppner. The 10-K stated:

         We are a financial services company committed to transforming the alternative
         asset industry with disruptive and innovative products and services. In 2018 and
         2019 GWG consummated a series of transactions (as more fully described below)
         with Beneficient that has resulted in a significant reorientation of our business and
         capital allocation strategy towards an expansive and diverse exposure to alternative
         assets . . . Beneficient’s existing and planned products and services are designed to
         support the tax and estate planning objectives of its MHNW clients, facilitate a
         diversification of assets or simply provide administrative management and
         reporting solutions tailored to the goals of the investor who owns alternative
         investments.

         102.   The foregoing statements were rendered materially misleading by Defendants’

failure to disclose the material facts that (i) they intended to misappropriate GWG assets, (ii)

GWG’s life insurance investment business had failed, and (iii) GWG could only repay prior

investors by issuing increasing amounts of securities to new investors. In essence, Defendants had

turned GWG into a Ponzi scheme.

IX.      CLASS ACTION ALLEGATIONS

         103.   Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities who purchased

or otherwise acquired securities of GWG between December 23, 2017 and April 20, 2022, both

dates inclusive (the “Class Period”), and who were damaged thereby (the “Class”). Excluded from

the Class are Defendants, the officers and directors of Defendants Ben LP and FOXO, at all


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relevant times, members of their immediate families and their legal representatives, heirs,

successors, or assigns, and any entity in which Defendants have or had a controlling interest.

       104.       The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Defendants caused GWG to issue over $1 billion in

securities, and the Wall Street Journal reported that approximately 27,000 individuals purchased

GWG debt securities known as L Bonds. While the exact number of Class members is unknown

to Plaintiffs at this time and can only be ascertained through appropriate discovery, Plaintiffs

believe that there are at least thousands of members in the proposed Class. Members of the Class

may be identified from records maintained by GWG or its brokers or transfer agents, and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       105.       Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       106.       Plaintiffs will fairly and adequately protect the interests of the members of the Class

and have retained counsel competent and experienced in class and securities litigation.

       107.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether Defendants’ actions constituted a scheme to defraud investors;




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                 (c)    whether statements made by Defendants to the investing public during the

Class Period omitted material facts about the business, operations, and prospects of GWG; and

                 (d)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

         108.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

X.       LOSS CAUSATION

         109.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs and the Class.

         110.    Because of Defendants’ wrongful conduct GWG is bankrupt, holders of its

securities have not received payments to which they are entitled, and investors have purchased

investments they would not have otherwise made absent Defendants’ material misrepresentations

and omissions.

         111.    During the Class Period, Plaintiffs and the Class purchased GWG securities at

artificially inflated prices. The price of GWG’s securities significantly declined when the

information alleged herein to have been concealed from the market, and/or the effects thereof,

were revealed, causing investors’ losses.

XI.      ADDITIONAL SCIENTER ALLEGATIONS

         112.    The scienter of the Individual Defendants is imputable to Defendants Ben LP and

FOXO because they were directors and/or officers of Defendants Ben LP and FOXO acting within

the scope of their authority.


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       113.       As alleged herein, Defendants acted with scienter because Defendants: knew that

the public documents and statements issued or disseminated in the name of GWG were materially

false and/or misleading; knew that such statements or documents would be issued or disseminated

to the investing public; knowingly and substantially participated or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the federal securities laws;

and knew that GWG’s L Bonds were risky, illiquid investments that were sold to retirees.

       114.       As set forth elsewhere herein in detail, the Individual Defendants, by virtue of their

receipt of information reflecting the true facts regarding GWG, their control over, and/or receipt

and/or modification of GWG’s allegedly materially misleading misstatements and/or their

associations with the GWG, Defendant Ben LP, and Defendant FOXO, which made them privy to

confidential proprietary information concerning GWG, participated in the fraudulent scheme

alleged herein.

XII.   APPLICABILITY OF PRESUMPTION OF RELIANCE (AFFILIATED UTE
       DOCTRINE)

       115.       A Class-wide presumption of reliance is appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972), because

the Class’s claims are, in large part, grounded on Defendants’ material omissions and

misrepresentations. Because this action involves Defendants’ failure to disclose material adverse

information regarding GWG’s business operations and financial prospects—information that

Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to recovery.

All that is necessary is that the facts withheld be material in the sense that a reasonable investor

might have considered them important in making investment decisions. Given the importance of

the Class Period material omissions set forth above, that requirement is satisfied here.




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XIII. NO SAFE HARBOR

        116.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer who

knew that the statement was false when made.

XIV.    FIRST CLAIM

                     Violation of Section 10(b) of The Exchange Act and
                         Rule 10b-5(a)–(c) Promulgated Thereunder
                    Against the Individual Defendants, FOXO, and Ben LP

        117.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

        118.    During the Class Period, the Individual Defendants, FOXO, and Ben LP carried out

a plan, scheme and course of conduct which was intended to and, throughout the Class Period, did:

(i) deceive the investing public, including Plaintiffs and other Class members, as alleged herein;

(ii) operate as a Ponzi scheme; and (iii) cause Plaintiffs and other members of the Class substantial




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losses. In furtherance of this unlawful scheme, plan and course of conduct, the above-mentioned

Defendants, took the actions set forth herein.

       119.    The above-mentioned Defendants: (i) employed devices, schemes, and artifices to

defraud; (ii) omitted to state material facts necessary to make their statements not misleading; and

(iii) engaged in acts, practices, and a course of business which operated as a fraud and deceit upon

the purchasers of GWG’s securities in violation of Section 10(b) of the Exchange Act and Rule

10b-5(a)—(c). All of the above-mentioned Defendants are sued either as primary participants in

the wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       120.    The above-mentioned Defendants, individually and in concert, directly and

indirectly, by the use, means or instrumentalities of interstate commerce and/or of the mails,

engaged and participated in a continuous course of conduct to conceal adverse material

information about GWG’s financial well-being and prospects, as specified herein.

       121.    The above-mentioned Defendants employed devices, schemes and artifices to

defraud, while in possession of material adverse non-public information and engaged in acts,

practices, and a course of conduct as alleged herein in an effort to assure investors of GWG’s

value, which included omitting to state material facts necessary in order to make the statements

made about GWG and its business operations and future prospects in light of the circumstances

under which they were made, not misleading, as set forth more particularly herein, and engaged in

transactions, practices and a course of business which operated as a fraud and deceit upon the

purchasers of GWG’s securities during the Class Period.

       122.    Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors of GWG, Defendant Ben LP, and Defendant FOXO during the Class Period; (ii) each of




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these defendants, by virtue of their responsibilities and activities as a senior officer and/or director

of GWG, was privy to and participated in the creation, development and reporting of GWG’s

internal budgets, plans, projections and/or reports; (iii) each of these defendants were advised of,

and had access to, other members of GWG’s management team, internal reports and other data

and information about GWG’s finances and operations at all relevant times; and (iv) each of these

defendants were aware of their own and GWG’s dissemination of information to the investing

public which they knew and/or recklessly disregarded was materially false and misleading.

        123.    The above-mentioned Defendants had actual knowledge of the omissions of

material facts set forth herein or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were available to them. Such

Defendants’ material omissions were done knowingly or recklessly and for the purpose and effect

of concealing GWG’s prospects from the investing public and supporting the artificially inflated

price of its securities. As demonstrated by Defendants’ misstatements of GWG’s business,

operations, and prospects throughout the Class Period, Defendants, if they did not have actual

knowledge of the omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.

        124.    As a result of the failure to disclose material facts, as set forth above, the price of

GWG’s securities were artificially inflated during the Class Period. In ignorance of the fact that

prices of GWG’s securities were artificially inflated, and in the absence of material adverse

information that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants and GWG during the Class Period, Plaintiffs and the other members of

the Class acquired GWG securities during the Class Period at artificially high prices and were




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damaged when GWG ceased making required payments on these securities, substantially

destroying their value.

        125.    At the time of said omissions, Plaintiffs and other members of the Class were

unaware of the omitted material facts and believed the statements of the above-mentioned

Defendants and GWG to be true. Had Plaintiffs and the other members of the Class and the

marketplace known the truth regarding GWG, which was not disclosed by the above-mentioned

Defendants, Plaintiffs and other members of the Class would not have purchased or otherwise

acquired their GWG securities, or, if they had acquired such securities during the Class Period,

they would not have done so at the artificially inflated prices which they paid.

        126.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        127.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

the other members of the Class suffered damages in connection with their respective purchases

and sales of GWG securities during the Class Period.

XV.     SECOND CLAIM

                          Violation of Section 20(a) of The Exchange Act
                                Against the Individual Defendants

        128.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

        129.    The Individual Defendants acted as controlling persons of Defendants Ben LP and

FOXO within the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of

their high-level positions as Directors, their ownership and contractual rights, participation in,

and/or awareness of the operations of Defendants Ben LP and FOXO, and intimate knowledge of

the material information concealed from the investing public, the Individual Defendants had the



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power to influence and control and did influence and control, directly or indirectly, the decision-

making of Defendants Ben LP and FOXO, including their participation in the fraudulent scheme

alleged herein.

        130.      In particular, the Individual Defendants had direct and supervisory involvement in

the day-to-day operations of Defendants Ben LP and FOXO and, therefore, had the power to

control or influence the particular decisions giving rise to the securities violations as alleged herein,

and exercised the same.

        131.      As set forth above, Defendants Ben LP and FOXO and Individual Defendants each

violated Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By

virtue of their position as controlling persons, Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiffs and other members of the Class suffered damages in connection with their purchases of

GWG’s securities during the Class Period.

XVI. THIRD CLAIM

                        Violation of Section 15(c)(1)(A) of the Exchange Act
                                Against Defendant Emerson Equity

        132.      Plaintiffs repeat and re-allege each and every allegation contained above as if fully

set forth herein.

        133.      During the Class Period, Defendant Emerson Equity was registered with the SEC

and FINRA as broker-dealers pursuant to Section 15(b) of the Exchange Act [15 U.S.C. § 78o(b)].

        134.      As set forth above, Defendant Emerson Equity directly or indirectly, by the use of

the means or instrumentality of interstate commerce, of the mails, or any facility of any national

securities exchange, used or employed, in connection with the purchase or sale, or the inducement

or attempted inducement of the purchase or sale, of securities otherwise than on a national



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exchange, acts, practices, or courses of business that constitute a manipulative, deceptive, or other

fraudulent device or contrivance.

        135.     By reason of the foregoing Defendant Emerson Equity violated, and unless

enjoined will continue to violate Section 15(c)(1)(A) of the Exchange Act [15 U.S.C. §

78o(c)(1)(A)].

        136.     In particular, as set forth above, Emerson Equity violated Section 15(c)(1)(A) of

the Exchange Act with their omissions that (i) GWG’s L Bonds had not been rated by any bond

rating agency, and (ii) GWG was operating at a loss during the Class Period. Further, as set forth

above, Defendant Emerson Equity each violated section 15(c)(1)(A) of the Exchange Act with

their material misrepresentations that GWG’s L Bonds were a safe and suitable investment for

retirees, despite the investment’s illiquidity and GWG’s failing business.

        137.     Defendant Emerson Equity omitted such facts and made such misrepresentations

in conversations with investors across the United States to induce or investors to purchase GWG’s

L Bonds in exchange for large commissions based on the number of L Bonds or amount of stock

sold. As a direct and proximate result of the wrongful conduct of Defendant Emerson Equity

members of the Class suffered damages in connection with their purchases of GWG’s securities

during the Class Period.

XVII.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs prays for relief and judgment, as follows:

        (a)      Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)      Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;


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       (c)     Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       (d)     Such other and further relief as the Court may deem just and proper.

XVIII. JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury.

Dated: March 30, 2023                         FEDERMAN & SHERWOOD

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